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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

                Plaintiff,
                                                      Case No. 17-cr-20183-5
 v
                                                      HON. MARK A. GOLDSMITH
 D-5 HAROLD LASHAWN NERO,

             Defendant.
 _____________________________/

                                 OPINION & ORDER
                          DENYING DEFENDANT’S MOTION TO
                        REVOKE THE DETENTION ORDER (Dkt. 518)

        This matter is before the Court on Defendant Harold Lashawn Nero’s motion to revoke the

 detention order (Dkts. 518). Nero seeks revocation of the detention order under 18 U.S.C.

 § 3142(i) on the grounds of the health risks posed by the COVID-19 pandemic and because his

 continued incarceration has prevented him from adequately preparing his defense. Alternatively,

 Nero contends that the excessive length of his pretrial detention has risen to the level of a due

 process violation. For the reasons that follow, Nero’s motion is denied.

                                       I. BACKGROUND

        A grand jury indicted Nero on nine charges stemming from his alleged role in an extensive

 human-trafficking and drug-distribution conspiracy at the Victory Inn hotel (the “Victory Inn”) in

 Dearborn, Michigan. Superseding Indictment (Dkt. 98). Nero initially consented to detention

 before the magistrate judge on June 30, 2017 (Dkt. 74). However, he thereafter filed a motion for

 revocation of the detention order (Dkt. 174). After a hearing held on February 21, 2018, this Court

 found that consideration of all of the evidence, as well as the factors set forth under 18 U.S.C.

 § 3142(g), required detention. See United States v. Nero, No. 17-20183, 2018 WL 10075971, at
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 *1 (E.D. Mich. Apr. 16, 2018). The Court concluded that the Government had met its burden of

 proving that Nero presented a flight risk and a danger to the community such that “no condition or

 combination of conditions could reasonably assure the safety the community and his appearance

 in court.” Id. at *6.

         Nero thereafter filed a revised motion for revocation of the detention order (Dkt. 296). The

 Court declined to reopen the detention hearing on the ground that the new evidence presented was

 not sufficiently material to or persuasive regarding the issue of Nero’s dangerousness. United

 States v. Nero, No. 17-20183, 2019 WL 6482415, at *2 (E.D. Mich. July 10, 2019). Most recently,

 Nero challenged his detention order on the ground that the COVID-19 pandemic constitutes new

 and material information bearing on his health and physical condition (Dkts. 423, 430). The Court

 denied Nero’s requests for release, finding that he had not demonstrated that his pretrial release

 was warranted in light of the risks presented by the pandemic. United States v. Nero, No. 17-

 20183, 2020 WL 1672656, at *4 (E.D. Mich. Apr. 6, 2020).

         Nero now challenges the detention order for a fourth time and requests that the Court

 release him to home confinement at a residential substance-abuse treatment center. Nero asserts

 that compelling reasons necessitate his temporary release under 18 U.S.C. § 3142(i)(4), and that

 the duration of his pretrial incarceration violates due process.

                                           II. ANALYSIS

         A. Compelling Reasons Warranting Release

         When a detention order has been issued, 18 U.S.C. § 3142(i)(4) provides that a court may

 subsequently issue an order permitting “the temporary release of the person . . . to the extent that

 the judicial officer determines such release to be necessary for preparation of the person’s defense

 or for another compelling reason.” Although the statute does not define what constitutes a

 “compelling reason” for release, some courts have recognized that a defendant’s heightened risk
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 of developing the more serious symptoms of COVID-19 can justify release. See, e.g., United

 States v. Kennedy, 449 F. Supp. 3d 713, 718 (E.D. Mich. 2020). Courts evaluating whether pretrial

 release is necessary under § 3142(i)(4) have considered the particularized risks posed to an

 individual defendant in accordance with the following four factors:

          (1) the original grounds for the defendant’s pretrial detention, (2) the specificity of
          the defendant’s stated COVID-19 concerns, (3) the extent to which the proposed
          release plan is tailored to mitigate or exacerbate other COVID-19 risks to the
          defendant, and (4) the likelihood that the defendant’s proposed release would
          increase COVID-19 risks to others.

 United States v. Clark, 448 F. Supp. 3d 1152, 1157 (D. Kan. 2020).

          Nero maintains that his release is warranted in light of certain medical conditions that place

 him at greater risk of developing severe symptoms of COVID-19. Mot. at 4-5, 10. Namely, Nero

 has submitted medical records establishing that he suffers from (i) a mildly enlarged aorta;

 (ii) cardiac issues including chest pain, hypertension, and possible hypertrophic cardiomyopathy;

 (iii) rhabdomyolysis, a kidney condition; (iv) constipation, abdominal bloating, hernias, and

 intermittent vomiting, for which he was referred to a general surgeon; and (v) obesity, with a Body

 Mass Index ranging between 39.73 and 43.30. Mot. at 4-5. The Centers for Disease and Control

 and Prevention have recognized that cardiac issues such as hypertension and cardiomyopathy, as

 well as obesity, can increase the risk of severe illness from COVID-19.1

          The Court previously considered the first three medical conditions listed above and

 determined that they did not weigh in favor of Nero’s release, as he failed to demonstrate that he

 was receiving inadequate medical care or that the jail was unequipped to address any positive

 COVID-19 cases. Nero, 2020 WL 1672656, at *3. The additional evidence regarding Nero’s

 constipation, abdominal bloating, hernias, vomiting, and obesity does not alter these conclusions.



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     https://perma.cc/LP6J-22Q8.
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 The medical records indicate that Nero has received treatment through a doctor’s care, a referral

 to a surgeon, and hospitalizations, as necessary, and there is no reason to doubt that he will continue

 to receive such care. Although he was recently referred to a surgeon, the medical records do not

 indicate whether surgery is necessary. And even assuming that Nero requires surgery, he does not

 argue that his post-operative care would be deficient or otherwise explain why this would

 necessitate his release. Accordingly, Nero’s medical conditions do not weigh in favor of his

 release. See United States v. Jones, No. 19-00249, 2020 WL 1511221, at *3 (W.D. Pa. Mar. 29,

 2020) (denying motion for release under § 3142(i) because the defendant failed to demonstrate

 that his medical needs were not being addressed at the detention facility).

        Nero also contends that his incarceration has impeded his ability to prepare for trial, given

 that in-person meetings with counsel have been suspended and that he has, at times, been unable

 to review video surveillance footage of the Victory Inn. Mot. at 14. While Nero contends that his

 trial preparation has been rendered more “inconvenient” as a result of pandemic-related

 restrictions, he does not argue that he has been prevented from effectively preparing a vigorous

 defense. Indeed, the record would undercut such an argument, given Nero’s recent motions and

 other filings. Although the inability of counsel and client to meet in person is not ideal, there has

 been no claim that they are unable to communicate. Nor is there any indication that Nero’s access

 to counsel would be greater if he was released from prison, as it would be equally hazardous for

 Nero and his attorney to meet in person outside of jail. See United States v. Cox, 449 F. Supp. 3d

 958, 965 (D. Nev. 2020) (holding that a defendant’s temporary release was not necessary for the

 preparation of his defense because limitations to visitation and communication would apply

 equally outside of jail). Thus, the Court concludes that Nero’s ability to prepare his defense has

 not been significantly hindered such that his pretrial release is necessary.

        Even assuming that Nero’s medical concerns and access to counsel weigh in favor of his
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 pretrial release, the remaining factors weigh strongly against his release. With respect to the

 original grounds for Nero’s detention, the Court previously held that the § 3142(g) factors

 overwhelmingly demonstrate that he presents a danger to the community and a risk of flight. Nero,

 2020 WL 1672656, at *4. Nero has not rebutted these conclusions in the present motion. As

 described in greater detail below, Nero is alleged to have taken an active role in a pervasive human-

 trafficking and drug-distribution conspiracy. Given the serious nature of the crimes alleged,

 Nero’s capacity for violence, and his extensive criminal record, this factor weighs decidedly in

 favor of his continued detention.

        With respect to his proposed plan for release, Nero has not explained how his release would

 minimize his risk of contracting COVID-19. Nero proposes that he would be released to home

 confinement at a residential substance-abuse treatment center located in Detroit. Mot. at 15. While

 Nero’s desire to receive substance-abuse treatment is commendable, he does not identify the

 number of other patients residing at the facility, or specify the COVID-19 precautions being

 implemented at the facility. In contrast, the Court has previously noted the strict precautionary

 measures being implemented at the jail, minimizing Nero’s potential exposure to the virus. See

 United States v. Smoot, No. 2:19-CR-20, 2020 WL 1501810, at *3 (S.D. Ohio Mar. 30, 2020).

 This factor weighs in favor of Nero’s continued detention.

        Finally, Nero’s release to a residential substance-abuse facility would increase the risk of

 others contracting COVID-19. As other courts have recognized, “‘[a] defendant who is unable to

 comply with conditions of release poses potential risks to law enforcement officers who are already

 tasked with enforcing shelter-in-place orders in many cities and counties, pretrial services officers

 who come into contact with the defendant for supervision, and others if that individual is taken

 back into custody.’” Id. (quoting Clark, 448 F. Supp. 3d at 1161). Additionally, Nero’s release

 may increase the risk of infection to other staff and patients at the facility. Consequently, this
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 factor likewise favors Nero’s continued detention.

         In sum, these factors do not demonstrate that Nero’s pretrial release is warranted in light

 of the risks presented by the COVID-19 pandemic and his ability to prepare his defense.

         B. Due Process

         Nero alternatively argues that the expected length of his pretrial incarceration violates due

 process. Nero has been in custody for 41 months, since the time of his arraignment on June 30,

 2017. With a three-month trial scheduled to begin on May 24, 2021, Nero will have been in

 custody for approximately 50 months by the time trial concludes.

         The Supreme Court has ruled that as a general matter, pretrial detention under the Bail

 Reform Act “is regulatory in nature, and does not constitute punishment before trial in violation

 of the Due Process Clause.” United States v. Salerno, 481 U.S. 739, 746-747 (1987). However,

 the court expressly stated that it “intimate[d] no view as to the point at which detention in a

 particular case might become excessively prolonged, and therefore punitive, in relation to

 Congress’ regulatory goal.” Id. at 747 n.4. Consequently, it is well established within the Sixth

 Circuit that an excessive duration of pretrial detention can violate due process. United States v.

 Watson, 475 F. App’x 598, 601 (6th Cir. 2012). The Sixth Circuit evaluates four factors in

 determining whether pretrial detention is unconstitutionally excessive: “(1) the length of the

 detention; (2) the extent of the prosecution’s responsibility for the delay of the trial; (3) the gravity

 of the charges; and (4) the strength of the evidence upon which the detention was based.” Id. The

 Court evaluates each of these factors in turn.

                 1. Length of the Delay

         With respect to the first factor, Nero maintains that his pretrial detention has been so

 lengthy as to become the dispositive factor of the analysis. Tawfik Mot. to Terminate Detention



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 Order at 10 (Dkt. 522).2 Nero notes several opinions treating similar durations of pretrial detention

 as the governing factor in concluding that the defendants’ continued incarceration violated due

 process. Id. at 7-10. For example, in United States v. Ojeda Rios, 846 F.2d 167, 169 (2d Cir.

 1988), the Second Circuit ordered the defendant’s release where he had been in custody for 32

 months on charges of bank robbery and where trial was not anticipated to begin for several months.

 And in United States v. Omar, 157 F. Supp. 3d 707, 717 (M.D. Tenn. 2016), the court held that

 the defendant’s pretrial incarceration of over four years amounted to a due process violation, even

 though the Government was not responsible for a substantial part of the delay and even though the

 defendant stood accused of sex-trafficking minors. Finally, in United States v. Rodriguez, No. 09-

 CR-331A, 2012 WL 6690197, at *1, 13 (W.D.N.Y. Dec. 21, 2012), the court held that where the

 defendant was charged with drug offenses, firearm possession, and racketeering, 50 months of

 pretrial detention, by itself, offended due process.

        However, caselaw establishes that “the length of pretrial detention is not dispositive, and

 will, by itself, rarely offend due process.” Watson, 475 F. App’x at 601 (citing United States v.

 El-Hage, 213 F.3d 74, 79 (2d Cir. 2000)). Instead, where pretrial detention is expected to last more

 than two years, “the length of detention prong of the due process analysis weighs strongly in favor

 of releas[e],” and it “follows that the other two prongs—government responsibility for delay and

 threats to the government’s regulatory interests (flight/dangerousness)—will have to weigh

 strongly in favor of the government to justify continued detention.” United States v. Ailemen, 165

 F.R.D. 571, 591 (N.D. Cal. 1996); see also United States v. Briggs, 697 F.3d 98, 101 (2d Cir. 2012)

 (“The longer the detention, and the larger the prosecution’s part in prolonging it, the stronger the

 evidence justifying detention must be if it is to be deemed sufficient to justify the detention’s


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  In addition to filing his own motion, Nero has joined in and adopted the arguments set forth in
 Tawfik’s motion to revoke her detention order. Nero Notice of Joinder (Dkt. 523).
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 continuance.”).

        While Nero’s 41-month pretrial detention has been lengthy, it is not unprecedented. Other

 cases have upheld pretrial detentions of similar durations in the face of due process challenges. In

 United States v. Noble, No. 1:17-05, 2020 WL 3487845, at *5 (W.D. Pa. June 26, 2020), the court

 held that the balance of the factors favored continuation of the defendant’s 41-month pretrial

 detention, given that the defendant was charged with serious drug trafficking offenses and had a

 history of violating the terms of court supervision. Similarly, in United States v. Flores, No. 2:14-

 cr-00684, 2018 WL 3530837, at *2 (C.D. Cal. July 20, 2018), the court held that a defendant’s 43-

 month detainment, where the total detainment was expected to last for 52 months, did not violate

 due process. The court noted that the balance of the factors weighed in favor of detention, as the

 defendant was charged with serious racketeering and drug-trafficking offenses, the Government

 bore little responsibility for the delay, and the defendant’s criminal history indicated multiple

 probation violations. Id. at *3.

        Yet another court upheld a pretrial detention expected to last for 55 months, where the

 defendant was charged with various offenses including racketeering, murder in aid of racketeering,

 and a drug-trafficking conspiracy. United States v. Speed, No. 09–CR–329, 2013 WL 6531950,

 at *5 (W.D.N.Y. Dec. 12, 2013). Although the length of detention weighed in favor of the

 defendant’s release, the remaining factors strongly favored the defendant’s continued detention.

 Id. at *4. Nevertheless, the court noted that “there could come a point, in the near future, where

 the length of detention alone warrants reconsideration of defendant’s request.” Id. at *5; see also

 United States v. Robinson, No. 10–CR–239S, 2014 WL 2207970, at *4 (W.D.N.Y. May 28, 2014)

 (continuing a pretrial detention of over 40 months without prejudice to renewal of the motion in

 six months on due-process grounds). In light of this authority, while the length of Nero’s pretrial

 incarceration weighs in favor of his release, it is not dispositive of the matter. Thus, the Court
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 proceeds to evaluate the remaining factors.

                2. Responsibility for the Delay

        Turning to the parties’ relative contributions to the delay, it does not appear that the

 Government is at fault for prolonging the proceedings. Nero was arraigned on June 30, 2017, and

 a superseding indictment was promptly filed on August 23, 2017. By December 5, 2017, the

 parties, including Nero, stipulated to a schedule whereby the Government was to produce lists of

 video segments (“Review Lists”) that it intended to introduce at trial from among the

 approximately 15,000 hours of video surveillance from the Victory Inn. 12/5/17 Stipulation &

 Order (Dkt. 171). While the stipulated order provided that Review Lists would be produced on

 February 14, 2018, and May 14, 2018, with additional productions continuing every 90 days as

 necessary, Nero faults the Government for producing additional lists after those dates. Tawfik

 Mot. to Terminate Detention Order at 11. However, the stipulated order expressly stated the

 parties’ recognition that May 14, 2018 was not a “cut-off,” and that the Government was not

 precluded from providing additional Review Lists as it completed its review. 12/5/17 Stipulation

 & Order at 3. Additionally, Defendants, including Nero, agreed to a final production of the Review

 Lists by February 14, 2019. See 9/6/18 Stipulation (Dkt. 206).

        Nero contends that technical issues with discovery and the Government’s decision to indict

 him before it sufficiently reviewed the evidence resulted in delays in reviewing discovery. Mot.

 at 7-8; Tawfik Mot. to Terminate Detention Order at 11. The Court has previously rejected this

 argument on multiple occasions. See 6/28/18 Order at 3 (Dkt. 200); 2/5/19 Order at 3-4 (Dkt.

 273); 11/20/19 Order at 3-4 (Dkt. 373); 6/11/20 Order at 5-6 (Dkt. 487). The delay is not

 attributable to any pre-indictment lethargy by the Government, and there is no indication that the

 Government failed to diligently review the surveillance video or to compile the Review Lists. As

 described above, the Government has timely produced discovery in accordance with an agreed-
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  upon schedule and has responded to a variety of pretrial motions, including several filed by Nero.

         In fact, at least two years of the delay is attributable to the Defendants’ need to review the

  discovery materials. The parties initially agreed that Defendants’ review would be confined to

  those portions of the surveillance video that the Government intended to use at trial. See Joint

  Statement Regarding Discovery at 2 (Dkt. 184). However, Defendants later expanded their review

  to the entirety of the surveillance video, on the theory that the video may contain exculpatory

  evidence. Given their need for additional time to review the voluminous amount of discovery,

  Nero’s co-Defendants repeatedly stipulated over the course of two years to a series of continuances

  through September 9, 2020. See 12/5/17 Stipulation & Order at 3-4; 2/1/19 Stipulation & Order

  at 2 (Dkt. 272); 2/1/19 Pruitt Stipulation & Order at 2 (Dkt. 290); 11/7/19 Stipulation & Order at

  3 (Dkt. 368). Although Nero did not stipulate to continuances beyond May 23, 2018, the Court

  held that those continuances have been warranted to afford Nero and the other Defendants time to

  review the many hours of video and to adequately prepare for trial. 6/28/18 Order at 3; 2/5/19

  Order at 3-4; 11/20/19 Order at 3-4; 6/11/20 Order at 5-6. While the Court does not fault

  Defendants for their legitimate desire to fully review the surveillance video, it likewise does not

  fault the Government for this delay.

         For the past nine months, the proceedings have been delayed as a result of restrictions

  imposed by the Court in response to the COVID-19 pandemic. Since March 25, 2020, the Court

  has remained closed to the public. It has indefinitely postponed in-court proceedings, including

  trials, given the impairment of counsel to prepare for trial, the “reduced ability to obtain an

  adequate spectrum of jurors,” and recommendations from public health organizations to limit the

  presence of counsel and court personnel in the courtroom. Administrative Order 20-AO-039; see

  also Administrative Order 20-AO-038 (revised) (“Jury trials will commence on a date yet to be

  determined, and then only for critical criminal trials.”). It is uncertain when the Court will reopen
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  to personnel or the public, let alone when jury trials will resume. Accordingly, the Court has held

  that it is unable to hold a jury trial in a manner that promotes public safety until, at the earliest,

  May 2021.

         Other courts confronted with the issue have held that delays occasioned by the pandemic

  have not violated due process and are not attributable to the Government. See, e.g., United States

  v. Bradley, No. 3:16-cr-50008, 2020 WL 6703802, at *4 (W.D. Va. Nov. 13, 2020) (holding that

  the prosecution was not responsible for pretrial delays attributable to the logistical challenges

  surrounding travel during the pandemic); United States v. Shipp, No. 19-CR-29, 2020 WL

  3642856, at *3 (E.D.N.Y. July 6, 2020) (holding that a pretrial detention expected to last for 20

  months did not offend due process “when viewed in light of the extenuating circumstances of the

  COVID-19 pandemic and the danger Mr. Shipp poses to the community”). Likewise, this Court

  finds that neither Government counsel nor the defense is responsible for the pandemic-related

  delay between March 25, 2020 and the new trial date of May 24, 2021.

         Ultimately, the extended period of pretrial delay in this matter is the product of the

  defense’s legitimate desire to review an extraordinary amount of material, coupled with an

  unprecedented and unforeseeable pandemic that has overwhelmed and interfered with every sphere

  of human activity—with the administration of justice as no exception. This confluence of events

  occurred through no fault of Government counsel. Accordingly, this factor is neutral with respect

  to Nero’s continued detention.

                 3. Gravity of the Charges & Strength of the Evidence

         The final two factors of the due process analysis overwhelmingly weigh in favor of Nero’s

  continued detention. Nero is charged with a variety of serious offenses related to his alleged role

  as an “enforcer” in a violent and extensive drug-distribution and sex-trafficking conspiracy. Nero,

  2018 WL 10075971, at *1. These offenses carry stiff penalties, including mandatory sentences of
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  15 to 20 years, and up to life in prison. And the evidence of Nero’s dangerousness to the

  community is strong. Surveillance video documents “hundreds of drug transactions, widespread

  prostitution, [and] violence,” and Nero is visible participating in drug-related activities and

  walking past an overdosing victim. Id. at *2. Further, the evidence demonstrates that the

  conspirators, including Nero, employed threats, violence, and degrading acts, as well as

  administered dangerous, addictive drugs, to coerce human trafficking victims into committing

  commercial sex acts. Id. at *4. According to witnesses, Nero hit the victims to keep them “in

  check,” and guarded them like prisoners while they prostituted themselves. Id. at *5.

         Nero’s criminal history further supports a finding that he poses a danger to the community

  and a risk of flight. The Court has previously described Nero’s extensive criminal record:

         Nero has at least 10 convictions, including at least seven for controlled substances.
         He has violated probation eight times and committed crimes at least six times while
         on supervision. He was arrested several other times between 2010 and 2014
         (including for armed robbery).

  Id. Additionally, Nero was on probation at the time of his alleged involvement in the presently-

  charged conspiracy. Id. On top of this, Nero evaded arrest on the present charges for three months

  by concealing his identity and whereabouts, with assistance from his family and friends. Id. at 4-

  5. Given the strength of the evidence demonstrating Nero’s alleged role in a particularly egregious

  conspiracy to distribute drugs and force women into prostitution, as well as Nero’s long criminal

  record, poor record of complying with the terms of probation, and history of evading arrest, these

  final two factors overwhelmingly favor Nero’s continued detention.

         Nero relies heavily on the Sixth Circuit’s unreported decision in United States v. Nagi, No.

  09-1995 (6th Cir. Dec. 14, 2009), in arguing that due process compels his release. Mot. at 7-8;

  Tawfik Mot. to Terminate Detention Order at 3-4. In that case, the Sixth Circuit held that due

  process compelled Nagi’s release, where he had been detained for more than three years, and where

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  the Government bore some responsibility for a two-year delay between Nagi’s arrest and a

  superseding indictment. Nagi, No. 09-1995, slip op. at 3. The court further reasoned that while

  the racketeering charges against Nagi were serious, they did not include the conspiracy to commit

  murder charges faced by some co-defendants who remained free on bond. Id. Further, the flight

  risk and danger posed to others by Nagi’s release could be mitigated through surrender of his

  passport, house arrest, and electronic tether. Id.

         The present case, however, is distinguishable from Nagi. Here, as discussed above, the

  Government is not responsible for any part of the delay. And unlike Nagi, Nero faces charges

  equally as serious as his co-defendants, the majority of whom are also detained. Finally, there was

  no indication in Nagi that the defendant had a history of evading arrest. Indeed, given Nero’s

  involvement in a violent organization, the Court has previously rejected the argument that

  electronic monitoring would reasonably assure Nero’s appearance or that he would forego

  activities that pose a danger to the community. Nero, 2018 WL 10075971, at *6. Nero’s reliance

  on Nagi is, therefore, unavailing.

         Ultimately, although the length of Nero’s pretrial detention weighs heavily in favor of his

  release, the gravity of the charged offense and the strength of the evidence of Nero’s dangerousness

  and risk of flight weigh even more heavily in favor of his continued detention. Additionally, the

  worldwide pandemic represents a circumstance outside the parties’ control preventing the Court

  from proceeding to trial until, at the earliest, May 2021. Nevertheless, the Court is troubled that

  Nero has been in pretrial custody for a prolonged period of time and does not rule out the possibility

  that there could come a point where the length of detention warrants his release. Accordingly,

  Nero’s motion to revoke the detention order is denied without prejudice to his ability to renew his

  motion should trial not begin by May 2021.



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                                        III. CONCLUSION

         The Court finds that Nero has not established compelling reasons justifying his release and

  that his pretrial incarceration does not violate due process. Accordingly, Nero’s motion to revoke

  the detention order is denied without prejudice to his ability to renew the motion should trial not

  begin by May 2021.

         SO ORDERED.

  Dated: December 11, 2020                             s/Mark A. Goldsmith
         Detroit, Michigan                             MARK A. GOLDSMITH
                                                       United States District Judge




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